Case MDL No. 3089 Document 233-11 Filed 10/25/23 Page 1 of 71




                         Exhibit 9

               Docket Sheet and Complaint
    Lee, et al. v. The Procter & Gamble Company, et
               al., No 2:23-cv-21126 (D.N.J.)
                      Case MDL No. 3089 Document 233-11 Filed 10/25/23 Page 2 of 71
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                                                     U.S. District Court
                                         District of New Jersey [LIVE] (Newark)
                                  CIVIL DOCKET FOR CASE #: 2:23-cv-21126-SRC-ESK


LEE et al v. THE PROCTER & GAMBLE COMPANY et al                                    Date Filed: 10/12/2023
Assigned to: Judge Stanley R. Chesler                                              Jury Demand: Plaintiff
Referred to: Magistrate Judge Edward S. Kiel                                       Nature of Suit: 370 Other Fraud
Cause: 28:1332 Diversity-(Citizenship)                                             Jurisdiction: Diversity
Plaintiff
MICHAEL LEE                                                           represented by KATRINA CARROLL
An individual                                                                        LYNCH CARPENTER LLP
                                                                                     111 W. WASHINGTON, STE 1240
                                                                                     CHICAGO, IL 60602
                                                                                     312-750-1265
                                                                                     Email: katrina@lcllp.com
                                                                                     ATTORNEY TO BE NOTICED
Plaintiff
TONI HEUCHAN                                                          represented by KATRINA CARROLL
An individual                                                                        (See above for address)
                                                                                     ATTORNEY TO BE NOTICED
Plaintiff
JONATHAN BRANDMAN                                                     represented by KATRINA CARROLL
An individual                                                                        (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

Plaintiff
MICHELLE GARZA                                                        represented by KATRINA CARROLL
An individual                                                                        (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

Plaintiff
CECE DAVENPORT                                                        represented by KATRINA CARROLL
An individual, and on behalf of all others similarly                                 (See above for address)
situated                                                                             ATTORNEY TO BE NOTICED


V.
Defendant
THE PROCTER & GAMBLE COMPANY

Defendant
HELEN OF TROY LIMITED


Date Filed       # Docket Text
10/12/2023       1 COMPLAINT against All Defendants ( Filing and Admin fee $ 402 receipt number ANJDC-14786190) with JURY
                   DEMAND, filed by MICHELLE GARZA, TONI HEUCHAN, MICHAEL LEE, CECE DAVENPORT, JONATHAN
                   BRANDMAN. (Attachments: # 1 Civil Cover Sheet, # 2 Summons, # 3 Summons, # 4 Exhibit A, # 5 Exhibit B, # 6
                   Exhibit C)(CARROLL, KATRINA) (Entered: 10/12/2023)
10/12/2023           Case Assigned to Judge Stanley R. Chesler and Magistrate Judge Edward S. Kiel. (ak, ) (Entered: 10/12/2023)
10/16/2023       2 SUMMONS ISSUED as to HELEN OF TROY LIMITED, THE PROCTER & GAMBLE COMPANY. Attached is
                   the official court Summons, please fill out Defendant and Plaintiffs attorney information and serve. (qa, ) (Entered:
                   10/16/2023)
                Case MDL No. 3089 Document 233-11 Filed 10/25/23 Page 3 of 71
10/18/2023   3 SUMMONS Returned Executed by MICHELLE GARZA, TONI HEUCHAN, MICHAEL LEE, CECE
               DAVENPORT, JONATHAN BRANDMAN. THE PROCTER & GAMBLE COMPANY served on 10/17/2023,
               answer due 11/7/2023. (CARROLL, KATRINA) (Entered: 10/18/2023)
10/18/2023   4 SUMMONS Returned Executed by MICHELLE GARZA, TONI HEUCHAN, MICHAEL LEE, CECE
               DAVENPORT, JONATHAN BRANDMAN. HELEN OF TROY LIMITED served on 10/17/2023, answer due
               11/7/2023. (CARROLL, KATRINA) (Entered: 10/18/2023)



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      Case
         2:23-cv-21126
           MDL No. 3089Document
                         Document
                                1 233-11
                                   Filed 10/12/23
                                           Filed 10/25/23
                                                   Page 1 of
                                                          Page
                                                             68 PageID:
                                                                4 of 71 1




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


                                      Case No.
MICHAEL LEE, an individual;
TONI HEUCHAN, an individual;
JONATHAN BRANDMAN, an
individual, MICHELLE GARZA, an
individual and CECE DAVENPORT,
an individual, and on behalf of all
others similarly situated,            CLASS ACTION COMPLAINT
                                      JURY TRIAL DEMANDED
           Plaintiffs,
     v.
THE PROCTER & GAMBLE
COMPANY; HELEN OF TROY
LIMITED,
           Defendants.




                                      1
      Case
        Case
           2:23-cv-21126
             MDL No. 3089Document
                           Document
                                  1 233-11
                                     Filed 10/12/23
                                             Filed 10/25/23
                                                     Page 2 of
                                                            Page
                                                               68 PageID:
                                                                  5 of 71 2




       Plaintiffs Michael Lee, Toni Heuchan, Jonathan Brandman, Michelle Garza,

and CeCe Davenport (collectively, “Plaintiffs”) bring this class action complaint

against Defendants The Procter & Gamble Company and Helen of Troy Limited

(collectively, “Defendants”), individually and on behalf of all others similarly

situated, and allege upon personal knowledge as to their acts and experiences, and,

as to all other matters, upon information and belief, including investigation

conducted by Plaintiff’s attorneys.

                              NATURE OF THE ACTION

       1.     This is a consumer protection class action arising out of Defendants’

false and misleading advertising of its oral phenylephrine (“PE”) Products. 1

       2.      Defendants distribute, market and sell oral PE Products marketed as

nasal decongestants. Defendants represent and sell oral PE Products to provide

benefits for the indications specified – to provide nasal congestion relief to all

consumers who ingest oral PE Products. The claimed nasal congestion health

benefits are the only reason a consumer would purchase oral PE Products.

Defendants’ advertising claims, however, are false, misleading, and reasonably

likely to deceive the public.




1
  This Complaint does not include intranasally or topically administered PE products. As
referenced in this Complaint, “oral phenylephrine (“PE”) products” mean PE products
administered orally in either tablet or liquid form.
                                               2
     Case
       Case
          2:23-cv-21126
            MDL No. 3089Document
                          Document
                                 1 233-11
                                    Filed 10/12/23
                                            Filed 10/25/23
                                                    Page 3 of
                                                           Page
                                                              68 PageID:
                                                                 6 of 71 3




      3.     Each of the oral PE Products at issue in Defendants’ cold relief product

lines, through their labeling and packaging, and through Defendants’ other

advertising and marketing materials, communicate the same substantive message to

consumers: that oral PE Products provide meaningful nasal congestive relief health

benefits. Defendants convey this health message through extensive and uniform

nationwide marketing campaigns and product labeling through which Defendants

represent that oral PE Products provide “FAST, POWERFUL COLD &

CONGESTION RELIEF” and that they provide “MAX STRENGTH…nasal

congestion [and] sinus congestion” relief, constituting an implied advertising claim

that the assertion is true and there is legitimate science substantiating the nasal

congestive relief health benefits. These representations are designed to induce

consumers to believe that Defendants’ oral PE Products are capable of providing

meaningful nasal congestion relief. These claims are a material reason a consumer

would purchase oral PE Products.

      4.     Defendants’ oral PE Products, however, are incapable of supporting or

providing nasal congestion health benefits because the ingredient in each of

Defendants’ oral PE Products at issue cannot support or benefit nasal decongestion.

Numerous well designed and well conducted scientific studies have been conducted

on the effects and efficacy of oral PE Products. These studies have demonstrated

that oral PE Products are ineffective in providing relief of nasal congestion because


                                         3
      Case
        Case
           2:23-cv-21126
             MDL No. 3089Document
                           Document
                                  1 233-11
                                     Filed 10/12/23
                                             Filed 10/25/23
                                                     Page 4 of
                                                            Page
                                                               68 PageID:
                                                                  7 of 71 4




PE is too rapidly metabolized by individuals, which does not allow it to reach the

nostrils in time to provide relief. These studies apply to oral PE Products’ target

audience, which includes people with nasal congestion. Accordingly, Defendants’

nasal decongestion relief health representations are false, misleading, and deceptive,

and its oral PE Products are worthless.

      5.      Indeed, On September 12, 2023, a U.S. Food and Drug Administration

(“FDA”) advisory panel agreed, voting unanimously (16-0) that oral PE Products

are not effective as a nasal decongestant.2

      6.      Plaintiffs bring this action individually and on behalf of all other

similarly situated consumers to obtain redress for those who have purchased

Defendants’ oral PE Products at issue.

                           JURISDICTION AND VENUE

      7.      The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2)

because the matter in controversy, exclusive of interest and costs, exceeds the sum

or value of $5,000,000 and is a class action in which there are in excess of 100 class

members, and some of the members of the class are citizens of states different from

Defendants.


2
 Haley Weiss, With the Decongestant SNAFU, the FDA Tries Something New, TIME (Sept. 14,
2023), https://time.com/6314120/fda-decongestant-phenylephrine-
decision/#:~:text=That%20changed%20on%20Sep.%2012,be%20pulled%20from%20stores%20
altogether (last accessed Sept. 22, 2023).
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      Case
        Case
           2:23-cv-21126
             MDL No. 3089Document
                           Document
                                  1 233-11
                                     Filed 10/12/23
                                             Filed 10/25/23
                                                     Page 5 of
                                                            Page
                                                               68 PageID:
                                                                  8 of 71 5




      8.     Defendants have marketed, promoted, distributed, and sold the oral PE

Products at issue in New Jersey, rendering exercise of jurisdiction by New Jersey

courts permissible.

      9.     Defendants’ systematic and continuous contacts with the District of

New Jersey in the form of conducting substantial business in New Jersey shows that

this court has personal jurisdiction over Defendants, as they have purposefully

availed themselves of the benefits and protections of the District of New Jersey.

      10.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and (b)

because a substantial part of the events and omissions giving rise to Plaintiff’s claims

occurred in this district. Venue also is proper under 18 U.S.C. § 1965(a) because

Defendants transact substantial business in this district.


                                      PARTIES

      11.    Plaintiff Michael Lee is a citizen of New York, and at all times relevant

to this action, resided in Monroe County, New York. Plaintiff Lee saw Defendants’

representations by reading the label of a “Vicks NyQuil and DayQuil Severe Cough,

Cold & Flu Relief Liquid” product package at Walmart and Walgreens locations in

Rochester, New York during the class period. In reliance on the claims at issue made

on the label, Plaintiff Lee purchased the Vicks product on several occasions during

the class period at a Walmart located at 1490 Hudson Avenue, Rochester, New York

14621 and another Walmart located at 3800 Dewey Avenue, Rochester, New York
                                           5
     Case
       Case
          2:23-cv-21126
            MDL No. 3089Document
                          Document
                                 1 233-11
                                    Filed 10/12/23
                                            Filed 10/25/23
                                                    Page 6 of
                                                           Page
                                                              68 PageID:
                                                                 9 of 71 6




14616, as well as a Walgreens located at 792 West Main Street, Rochester, New

York 14608. By purchasing the deceptively advertised product, Plaintiff Lee

suffered injury-in-fact and lost money because the Vicks product does not provide

the promised benefits. Had Plaintiff Lee known the truth about Defendants’

advertisements at the time of his purchases, he would not have purchased the Vicks

product. Plaintiff continues to desire to purchase an oral nasal decongestant product

and believes he would purchase an oral nasal decongestant if it worked as advertised.

However, as a result of Defendants’ ongoing false advertising, Plaintiff Lee will be

unable to rely on the advertising when deciding in the future whether to purchase

Vicks products.

      12.    Plaintiff Jonathan Brandman is a citizen of New York, and at all times

relevant to this action, resided in Nassau County, New York. Plaintiff Brandman

saw Defendants’ representations by reading the label of a “Vicks NyQuil and

DayQuil Severe Cough, Cold & Flu Relief Liquid” product package at a CVS

Pharmacy in Rochester, New York during the class period. In reliance on the claims

at issue made on the label, Plaintiff Brandman purchased the Vicks product on

several occasions during the class period at the CVS located at 2291 Merrick Road,

Merrick, New York 11566. By purchasing the deceptively advertised product,

Plaintiff Brandman suffered injury-in-fact and lost money because the Vicks product

does not provide the promised benefits. Had Plaintiff Brandman known the truth


                                         6
     Case
      Case2:23-cv-21126
            MDL No. 3089Document
                         Document1 233-11
                                    Filed 10/12/23
                                            Filed 10/25/23
                                                     Page 7 Page
                                                            of 68 PageID:
                                                                  10 of 71 7




about Defendants’ advertisements at the time of his purchases, he would not have

purchased the Vicks product. Plaintiff continues to desire to purchase an oral nasal

decongestant product and believes he would purchase an oral nasal decongestant if

it worked as advertised. However, as a result of Defendants’ ongoing false

advertising, Plaintiff Brandman will be unable to rely on the advertising when

deciding in the future whether to purchase Vicks products.

      13.    Plaintiff Toni Heuchan is a citizen of California, and at all times

relevant to this action, resided in Los Angeles County, California. Plaintiff Heuchan

saw Defendants’ representations by reading the label of a “Vicks NyQuil and

DayQuil Severe Cough, Cold & Flu Relief Liquid” product package at a CVS

Pharmacy in Lakewood, California during the class period. In reliance on the claims

at issue made on the label, Plaintiff Heuchan purchased the Vicks product on several

occasions during the class period at the CVS Pharmacy located at 6510 South Street,

Lakewood, California 90713. By purchasing the deceptively advertised product,

Plaintiff Heuchan suffered injury-in-fact and lost money because the Vicks product

does not provide the promised benefits. Had Plaintiff Heuchan known the truth about

Defendants’ advertisements at the time of her purchases, she would not have

purchased the Vicks product. Plaintiff continues to desire to purchase an oral nasal

decongestant product and believes she would purchase an oral nasal decongestant if

it worked as advertised. However, as a result of Defendants’ ongoing false


                                          7
      Case
       Case2:23-cv-21126
             MDL No. 3089Document
                          Document1 233-11
                                     Filed 10/12/23
                                             Filed 10/25/23
                                                      Page 8 Page
                                                             of 68 PageID:
                                                                   11 of 71 8




advertising, Plaintiff Heuchan will be unable to rely on the advertising when

deciding in the future whether to purchase Vicks products.

      14.    Plaintiff Michelle Garza is a citizen of California, and at all times

relevant to this action, resided in Los Angeles County, California. Plaintiff Garza

saw Defendants’ representations by reading the label of a “Vicks NyQuil and

DayQuil Severe Cough, Cold & Flu Relief Liquid” product package at Target, CVS

and Walgreens locations in Los Angeles, California during the class period. In

reliance on the claims at issue made on the label, Plaintiff Garza purchased the Vicks

product on several occasions during the class period at a Target located at 7100 Santa

Monica Boulevard, Suite 201, West Hollywood, California 90046, a CVS Pharmacy

located at 1747 North Cahuenga Boulevard, Hollywood, California 90028, and a

Walgreens located at 1501 Vine Street, Los Angeles, California 90028. By

purchasing the deceptively advertised product, Plaintiff Garza suffered injury-in-fact

and lost money because the Vicks product does not provide the promised benefits.

Had Plaintiff Garza known the truth about Defendants’ advertisements at the time

of her purchases, she would not have purchased the Vicks product. Plaintiff

continues to desire to purchase an oral nasal decongestant product and believes she

would purchase an oral nasal decongestant if it worked as advertised. However, as a

result of Defendants’ ongoing false advertising, Plaintiff Garza will be unable to rely

on the advertising when deciding in the future whether to purchase Vicks products.


                                          8
     Case
      Case2:23-cv-21126
            MDL No. 3089Document
                         Document1 233-11
                                    Filed 10/12/23
                                            Filed 10/25/23
                                                     Page 9 Page
                                                            of 68 PageID:
                                                                  12 of 71 9




      15.    Plaintiff CeCe Davenport is a citizen of New Jersey, and at all times

relevant to this action, resided in Morris County, New Jersey. Plaintiff Davenport

saw Defendants’ representations by reading the label of a “Vicks NyQuil and

DayQuil Severe Cough, Cold & Flu Relief Liquid” product package at a Walgreens

in New Jersey during the class period. In reliance on the claims at issue made on the

label, Plaintiff Davenport purchased the Vicks product on several occasions during

the class period at a Walgreens in New Jersey. By purchasing the deceptively

advertised product, Plaintiff Davenport suffered injury-in-fact and lost money

because the Vicks product does not provide the promised benefits. Had Plaintiff

Davenport known the truth about Defendants’ advertisements at the time of her

purchases, she would not have purchased the Vicks product. Plaintiff continues to

desire to purchase an oral nasal decongestant product and believes she would

purchase an oral nasal decongestant if it worked as advertised. However, as a result

of Defendant’s ongoing false advertising, Plaintiff Davenport will be unable to rely

on the advertising when deciding in the future whether to purchase Vicks products.

      16.    Defendant The Procter & Gamble Company is an Ohio Corporation

with its headquarters and principal place of business at 1 Procter & Gamble Plaza,

Cincinnati, Ohio 45202. The Procter & Gamble Company, along with Helen of Troy

Limited, manufactures, markets, advertises and distributes oral PE products under

its “Vicks®” product line, including as “DayQuil” and “NyQuil.”


                                         9
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 10 Page
                                                          of 68 PageID:
                                                                13 of 71 10




        17.     Defendant Helen of Troy Limited is a Bermuda Company with its

United States headquarters and principal place of business at 1 Helen of Troy Plaza,

El Paso, Texas 79912. Helen of Troy Limited, along with the Procter & Gamble

Company, manufactures, markets, advertises and distributes oral PE products under

its “Vicks®” product line, including as “DayQuil” and “NyQuil.”

                             FACTUAL ALLEGATIONS
   I.         Defendants’ PE Products
        18.     Defendant sells Vicks® products through its website, www.vicks.com,

and through various retail stores, including Walgreens, CVS, Walmart, Rite Aid and

Target.

        19.Defendant’s oral Vicks® products at issue include, but are not limited to:

                   a. DayQuil™ SEVERE Maximum Strength Cough, Cold & Flu
                      Daytime Relief LiquiCaps™
                   b. DayQuil™ SEVERE Maximum Strength Cough, Cold & Flu
                      Daytime Relief Liquid
                   c. DayQuil™ VapoCOOL SEVERE Maximum Strength Cold &
                      Flu + Congestion Daytime Relief Caplets
                   d. DayQuil™ VapoCOOL SEVERE Maximum Strength Cold &
                      Flu + Congestion Daytime Relief Liquid
                   e. DayQuil™ SEVERE Honey Maximum Strength Cough, Cold &
                      Flu Nighttime Relief Liquid
                   f. DayQuil™ Hot Remedy Cold & Flu Relief Hot Drink Powder
                      Medicine
                   g. NyQuil™ SEVERE Maximum Strength Cough, Cold & Flu
                      Nighttime Relief LiquiCaps™
                   h. NyQuil™ SEVERE Maximum Strength Cough, Cold & Flu
                      Daytime Relief Liquid
                   i. NyQuil™ VapoCOOL SEVERE Maximum Strength Cold & Flu
                      + Congestion Nighttime Relief Caplets


                                           10
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 11 Page
                                                           of 68 PageID:
                                                                 14 of 71 11




                 j. NyQuil™ VapoCOOL SEVERE Maximum Strength Cold & Flu
                    + Congestion Daytime Relief Liquid
                 k. NyQuil™ SEVERE Honey Maximum Strength Cough, Cold &
                    Flu Nighttime Relief Liquid
                 l. NyQuil™ Hot Remedy Cold & Flu + Congestion Relief Hot
                    Drink Powder Medicine
                 m. Vicks NyQuil Severe + Super C Convenience Pack
                 n. DayQuil™ and NyQuil™ SEVERE Honey Maximum Strength
                    Cough, Cold & Flu Relief Liquid Co-Pack
                 o. DayQuil™ and NyQuil™ VapoCOOL SEVERE Maximum
                    Strength Cold & Flu + Congestion Relief Caple
                 p. DayQuil™/NyQuil™ Hot Remedy Cold & Flu Relief Hot Drink
                    Powder Medicines
                 q. Vicks® Children’s Non-Drowsy Cough Suppressant &
                    Decongestant, Cough Medicine
                 r. Vicks® Children’s Cough & Congestion Night Medicine, Free
                    Of Artificial Dyes & Flavors
                 s. Vicks® Children’s MULTI-SYMPTOM Cold Relief from
                    Cough, Sore Throat & Fever Medicine
                 t. Sinex™ SEVERE ALL IN ONE SINUS LiquiCaps™
                 u. Sinex SEVERE ALL IN ONE SINUS + MUCUS LiquiCaps™
                    24 CT
       20.    Vicks® Products contain anywhere from 2.5mg-10mg of PE per

serving.

       21.    Defendants market Vicks® Products to provide the purported health

benefit of nasal congestion relief. Nasal congestion is a symptom of allergies, hay

fever, and the common cold. These symptoms are also connected with several other

conditions, including nasal polyps, deviated nasal septum, cystic fibrosis, HIV, and

other immune system-related diseases.3 A consumer research study found that there



3
 Chronic sinusitis, Mayo Clinic (Sept. 19, 2023), https://www.mayoclinic.org/diseases-
conditions/chronic-sinusitis/symptoms-causes/syc-20351661.
                                              11
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 12 Page
                                                           of 68 PageID:
                                                                 15 of 71 12




has been a rise in purchases of nasal decongestants since the start of the Covid-19

pandemic.4 According to a consumer analysis by Profitero, searches for cold and flu

medicine exploded at the onset of the pandemic in early 2020.5

       22.    According to the FDA, estimates of 2022 retail sales data show an

estimated 242 million over-the-counter (“OTC”) cough, cold, and allergy oral

products containing PE were sold from retail stores, representing approximately

$1.763 billion in sales. 6

       23.    PE is a specific alpha-1 adrenergic receptor agonist that works as a

nasal decongestant by temporarily constricting blood vessels.7 However, a recent

advisory panel brief to the FDA has confirmed that orally administered PE at

monographed dosages is not effective as a decongestant.8 In other words, oral

Vicks® Products’ active ingredient for nasal decongestion is worthless and does not

provide the health benefits claimed by Defendants.

       24.    Because nasal congestion is associated with a large range of conditions,

many people purchase OTC cold medicine containing oral PE Products without any

formal medical diagnosis. Knowing this, to induce consumers (including Plaintiffs



4
  Cold And Flu Sales On Amazon To Reach Record Highs In 2022, Profitero (Jan. 25, 2022),
https://www.profitero.com/blog/cold-and-flu-sales-on-amazon-2022.
5
  Id.
6
  U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT 68
(Sept. 12, 2023), https://www.fda.gov/media/171915/download.
7
  Id. at 13.
8
  Id. at 9.
                                            12
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 13 Page
                                                           of 68 PageID:
                                                                 16 of 71 13




and Class Members) to purchase its oral PE Products, Defendants advertise through

its messaging that Vicks® Products provide maximum-strength nasal congestion

relief.

          25.     In addition to the fact that Oral PE products do not provide their

indicated health benefits, oral PE Products also have side effects, including anxiety,

nervousness, headache, trouble sleeping, heart palpitations, increased blood pressure

and possible allergic reactions. 9

    II.         Defendants’ False and Deceptive Advertising
          26.      Defendants market their products at all major pharmaceutical retailers

and through television and internet advertisements, along with a Vicks® -specific

website. 10 Based on well-conducted consumer research, Defendants have finely

honed their package labeling to ensure their oral PE Products are a household

product by promising to relieve nasal congestion symptoms associated with the

common cold or flu.

          27.      Beginning with the package label for oral Vicks® Products and

reinforced through other advertisements, Defendants conveys to consumers that its

oral Vicks® Products will provide nasal congestion health benefits for anyone who

takes oral Vicks® Products.


9
 Q&A: As FDA panel deems decongestants ineffective, experts discuss impact on allergy care,
healio.com (Sept. 22, 2023), https://www.healio.com/news/allergy-asthma/20230922/qa-as-fda-
panel-deems-decongestants-ineffective-experts-discuss-impact-on-allergy-care.
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   https://vicks.com/en-us
                                              13
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 14 Page
                                                          of 68 PageID:
                                                                17 of 71 14




      28.     The front panels of the packaging for all oral Vicks® Products are

materially the same and communicate the same implied advertising message. As an

example of one label, on the front label, on the top right it states “MAX

STRENGTH,” and immediately below “DayQuil” and “NyQuil" is printed

prominently and in all caps, “SEVERE;” lower on the label, it states the conditions

for which it purports to provide relief, including “Nasal Congestion” and “Sinus

Pressure.” Among other things, these statements convey the implied message that

consumption of oral Vicks® Products can provide the health benefit of relief from

nasal congestion.

      29.     An example of an advertisement for an oral Vicks® Products appears

as follows:

                                        14
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 15 Page
                                                           of 68 PageID:
                                                                 18 of 71 15




       30.    To reinforce the nasal decongestant message, Defendants repeat similar

claims about cold and flu symptoms throughout its packaging and marketing,

including that oral Vicks® Products provide “FAST, POWERFUL COLD &

CONGESTION RELIEF.”

       31.    To add credibility to the advertising, Defendants provide consumers

with an additional “reason to believe” the nasal decongestant message. Providing a

“reason to believe” advertising is a key psychological component to successful

advertising. A “reason to believe” offered by Defendants is that oral Vicks®

Products can provide “FAST, POWERFUL COLD & CONGESTION RELIEF” and

that it provides “MAX STRENGTH…nasal congestion [and] sinus congestion”

relief. Defendants also claim they are the “#1 Pharmacist Recommended daytime

and nighttime cough, cold & flu brands” This message misleadingly promotes

Defendants’ oral PE Products as having decongestion benefits, despite the fact that

this claim is clearly false.



                                         15
      Case
        Case
           2:23-cv-21126
              MDL No. 3089
                         Document
                           Document
                                  1 233-11
                                    Filed 10/12/23
                                             Filed 10/25/23
                                                    Page 16 Page
                                                            of 68 PageID:
                                                                  19 of 71 16




     III.     The FDA Finds Orally Administered PE Products Are Not Effective
              Nasal Decongestants Based on Scientific Studies
        32.      Despite Defendants’ representations, an advisory panel to the FDA has

found that orally administered PE — as is used in Defendants’ Products — is not an

effective treatment for nasal congestion. 11

        33.      On September 12, 2023, the FDA published the Non-Prescription Drug

Advisory Committee (“NDAC”) Briefing Document (the “FDA Briefing”), which

outlined the NDAC’s findings and analysis supporting its conclusion that oral PE is

not effective as a nasal decongestant.12 The FDA Briefing detailed the NDAC’s

analysis of all the relevant scientific support of the efficacy of oral PE and the history

of PE’s approval by the FDA. The NDAC’s extensive examination included an


11
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
9 (2023), https://www.fda.gov/media/171915/download.
12
   Id.
                                           16
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 17 Page
                                                           of 68 PageID:
                                                                 20 of 71 17




analysis of the following: (1) the fourteen original clinical trials that were the basis

for the FDA’s approval of PE, (2) the 2007 Citizen’s Petition, (3) the 2007 NDAC

meeting and two meta-analyses presented there, (4) bioavailability data which

demonstrated that less than one percent (<1%) of an oral dose of PE is systemically

available, (5) two Environmental Exposure Unit (“EEU”) studies, (6) three modern

clinical studies done since the 2007 NDAC meeting, and (7) the 2015 Citizen’s

Petition.13 After reviewing this voluminous scientific evidence, the NDAC

concluded that orally administrated PE is not an effective treatment for nasal

congestion, and that oral PE usage for treatment of congestion has no scientific

merit. 14 The NDAC voted 16-0 “that scientific evidence doesn’t prove that the nasal

decongestant is effective when taken orally at recommended doses.”15

                                   Introduction to PE
       34.    PE is a specific alpha-1 adrenergic receptor agonist. 16 PE can be used

in both single ingredient and combination products, so long as the combination

products comply with the FDA’s list of permitted combinations. There are two forms

of PE discussed by the NDAC: (1) orally administered phenylephrine hydrochloride



13
   Id. at 8.
14
   Id. at 9.
15
   Cailley Lapara, Common Nasal Decongestant Doesn’t Actually Work, According to FDA
Advisors, TIME, https://time.com/6313449/nasal-decongestant-phenylephrine-efficacy-fda/ (last
accessed Sept. 22, 2023).
 16
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download.
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          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 18 Page
                                                           of 68 PageID:
                                                                 21 of 71 18




(“PEH”), and (2) phenylephrine bitartrate (“PEB”).

       35.    Alpha-1 adrenergic agonists, such as PE, pseudoephedrine (“PSE”)

and phenylpropanolamine (“PPA”) can temporarily constrict the blood vessels in the

nasal passages and reduce swelling in the sinuses and nose as a result. 17

       36.    However, extensive scientific studies have shown that orally

administered PE, such as when taken in a tablet or a syrup form, is not effective at

providing nasal congestion relief benefits. The NDAC agreed, stating “we have now

come to the initial conclusion that orally administered PE is not effective as a nasal

decongestant at the monographed dosage (10 mg of PE hydrochloride every 4 hours)

as well as at doses up to 40 mg (dosed every 4 hours). 18

                                  Previous Approvals
       37.    In 1976, PE, PSE, and PPA were reviewed as possible over-the-counter

(“OTC”) products for nasal congestion treatment by the FDA. In 1994, PE, PSE, and

PPA were approved by the FDA, at their respective monograph dosages,19 and added

to the FDA’s Cough, Cold, Allergy, Bronchodilator, and Anti-Asthmatic Drug

Products (“CCABAP”) Final Monograph (the “Final Monograph,” “FM” or

“CCABAP Monograph”) for OTC nasal decongestant drug products.20 The


17
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download.
18
   Id. at 9.
19
    A “monograph dosage” is the dosage of the drug the FDA has officially approved for use.
20
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
12 (2023), https://www.fda.gov/media/171915/download.
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     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 19 Page
                                                           of 68 PageID:
                                                                 22 of 71 19




CCABAP Monograph regulates and provides a list of permitted nasal decongestants,

among other therapeutic classes of drugs. The FDA approved dosage of orally

administered PE was 10 mg.21

      38.     In 2000, PPA was removed from the market after it was found to cause

hemorrhagic    strokes    in   women.22    Additionally,    in   2006,   the   Combat

Methamphetamine Epidemic Act (“CMEA”) limited the availability of PSE by

requiring the sale of PSE products to “behind-the-counter” sales made only to people

with a prescription. 23 This restriction on OTC availability of PSE made by the

CMEA was a result of the use of PSE to illegally produce methamphetamine.24

      39.     Consequently, by 2006, PE became the only OTC oral decongestant

listed in the CCABAP Monograph as FDA approved for OTC sales. As a result,

manufacturers replaced or reformulated their PSE OTC oral decongestant products

to now be formulated with PE. This was done to maintain OTC availability of

products and reduce the new barrier to sales the CMEA created by requiring

consumers to purchase PSE products “behind-the-counter.”

      40.     However, there have been continuous concerns raised to the FDA by

the scientific community regarding the lack of scientific merit of the original clinical



21
   Id. at 9.
22
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
12 (2023), https://www.fda.gov/media/171915/download.
23
   Id.
24
   Id.
                                          19
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 20 Page
                                                           of 68 PageID:
                                                                 23 of 71 20




studies done in 1976 that formed the basis for the FDA’s approval of orally

administered PE. These concerns have been expressed and reviewed by FDA

advisory panels by virtue of a 2007 Citizen’s Petition, a 2007 Non-Prescription Drug

Advisory Committee (“NDAC”) Meeting, a 2015 Citizen’s Petition, and a 2023

NDAC Meeting. 25 After the 2023 NDAC meeting, the FDA advisory panel voted

16-0 on September 12, 2023 that oral PE is not an effective treatment for nasal

congestion.26

                       Summary of the FDA Review Process
      41.    The 1972 Kefauver-Harris Amendment to the Food, Drug, and

Cosmetic Act requires drug manufacturers provide proof of the effectiveness and

safety of their drugs before FDA approval. 27 The FDA’s administrative process on

reviewing OTC drugs 28 involves convening an Advisory Panel to review data

relating to claims and active ingredients. 29 The Advisory Panel’s reports and

comments are published in the Federal Registrar as Advanced Notice(s) of Proposed

Rulemaking (“ANPR” or “Proposed Rules”) which, after FDA review, are published

in a Tentative Final Monograph (“TFM”) for each therapeutic class of drugs.30 Each


25
   Id.
26
   Id.
27
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
11 (2023), https://www.fda.gov/media/171915/download.
28
   The FDA’s administrative review process for OTC drugs is often referred to as the Drug
Efficacy Study Implementation (“DESI”) process.
29
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
11 (2023), https://www.fda.gov/media/171915/download.
30
   Id.
                                           20
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 21 Page
                                                           of 68 PageID:
                                                                 24 of 71 21




TFM establishes the conditions under which an ingredient within a drug class, or

permitted combination of ingredients, is considered to be Category I “generally

recognized as safe and effective” (“GRASE”).31 The final step is the publication of

a Final Monograph (“FM”) for each class of drugs, which provides a list of permitted

ingredients, and ingredient combinations, along with required labeling, dosing, and

marketing requirements. 32 Drugs manufactured and marketed in accordance with the

FM requirements are considered GRASE. 33 This process allows for the FDA to

amend the FM in response to a Citizen’s Petition (“CP”).

      42.    Inclusion of ingredients, including PE, in the CCABAP Monograph

was based on recommendations made by an Advisory Review Panel on Over-the-

Counter Cold, Cough, Allergy, Bronchodilator, and Anti-asthmatic Products (“the

“Panel” or the “Cough-Cold Panel”).34 The Panel was convened by the National

Academy of Sciences / National Research Council, on behalf of the FDA, to review

and provide recommendations to the FDA regarding the safety and efficacy of

therapeutic groups of products, including PE. 35 The FDA published the Panel’s

recommendations as a Proposed Rule (ANPR) in 1976 and issued the CCABAP



31
   Id.
32
   Id.
33
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
11 (2023), https://www.fda.gov/media/171915/download.
34
   Id. at 12.
35
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
11 (2023), https://www.fda.gov/media/171915/download.
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       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 22 Page
                                                           of 68 PageID:
                                                                 25 of 71 22




TFM in segments between 1982 and 1988. 36 The CCABAP Final Monograph for

nasal decongestants was published in 1994. 37

       43.      The Advisory Panel first reviewed PEH for OTC use as a nasal

decongestant in 1976. The Agency then published the Panel’s findings in the Federal

Registrar as a Proposed Rule, and the CCABAP FM, which included PEH, was

published in 1994.38 The CCABAP FM classified PEH as a GRASE nasal

decongestant when administered intranasally 39 or when administered orally. 40

       44.      In 2004, the FDA issued a Proposed Rule to add PEB as a GRASE

OTC oral treatment for nasal decongestion in response to a drug manufacturer’s

Citizen Petition citing pharmacokinetic (“PK”) data which represented PEB had

similar bioavailability to PEH. 41 PEB is an immediate release (“IR”) orally

administered effervescent tablet form of PE. 42 In 2006, the FDA issued a Final

Ruling which amended the CCABAP FM and added PEB as GRASE. 43

       45.      Amendments to the FM were rarely done until the passage of the




36
    Id.
37
    Id. at 11-12.
38
    Id. at 15.
39
   i.e. when the drug is applied directly into the nose, such as with a nasal spray or topical cream.
40
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download.
41
    Id.
42
    Id.
43
    Id.
                                                 22
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 23 Page
                                                           of 68 PageID:
                                                                 26 of 71 23




Coronavirus, Aid, Relief, and Economic Security Act (“CARES Act”) in 2020.44

The CARES Act created an updated administrative order process and authority for

the FDA to issue, revise, and amend monographs, which simplified making any

contemplated changes. 45 Additionally, the CARES Act also required the FDA to

report to Congress yearly on the status of GRASE determinations or revisions to the

CCABAP Monograph, and specifically required updates on any pediatric dosage

issues.46

      46.       Since the CCABAP Monograph’s pediatric PE dosage was based on

adult data and dosages for PE, and also since the FDA had recently received a 2015

Citizen’s Petition containing concerns with the scientific merits and validity of the

adult PE data, the new pediatric requirement in the CARES Act prompted FDA’s

2023 reevaluation of the effectiveness of oral PE as a treatment for nasal

congestion.47

      47.       On September 12, 2023, the NDAC voted 16-0 that orally administered




44
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download; see also
https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf.
45
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download; see also
https://www.govinfo.gov/content/pkg/COMPS-15754/pdf/COMPS-15754.pdf.
46
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
13 (2023), https://www.fda.gov/media/171915/download
47
   Id. at 13.
                                          23
     Case
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          2:23-cv-21126
             MDL No. 3089
                        Document
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                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 24 Page
                                                           of 68 PageID:
                                                                 27 of 71 24




PE is not effective as a treatment for nasal congestion.48

      48.     The NDAC stated:

             The new data appear compelling that the monographed dosage
             of oral PE results in no meaningful systemic exposure or
             evidence of efficacy. Furthermore, the review suggests that
             higher does . . . have also not shown efficacy. These findings are
             supported by in vitro and in vivo clinical pharmacology data
             showing that orally administered phenylephrine undergoes high
             first-pass metabolism resulting in less than 1% bioavailability.49

The NDAC also stated that “studying higher doses would not be a viable option”

because of dangerous rises in blood pressure associated with higher doses. 50

      49.     Specifically, the advisory panel to the FDA concluded:
             In accordance with the effectiveness standard for determining
             that a category of over-the-counter (OTC) drugs is generally
             recognized as safe and effective that is set forth in 21 CFR §
             330.10(a)(4)(ii), which defines effectiveness as: “a reasonable
             expectation that, in a significant proportion of the target
             population, the pharmacological effect of the drug, when used
             under adequate directions for use and warnings against unsafe
             use, will provide clinically significant relief of the type claimed”,
             we have now come to the initial conclusion that orally
             administered PE is not effective as a nasal decongestant at the
             monographed dosage (10 mg of PE hydrochloride every 4
             hours) as well as at doses up to 40 mg (dosed every 4 hours).51
             (emphasis added).


48
   Haley Weiss, With the Decongestant SNAFU, the FDA Tries Something New, TIME (Sept. 14,
2023), https://time.com/6314120/fda-decongestant-phenylephrine-
decision/#:~:text=That%20changed%20on%20Sep.%2012,be%20pulled%20from%20stores%20
altogether (last accessed Sept. 22, 2023).
49
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
14 (2023), https://www.fda.gov/media/171915/download.
50
   Id.
51
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
14 (2023), https://www.fda.gov/media/171915/download.
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          2:23-cv-21126
             MDL No. 3089
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                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 25 Page
                                                           of 68 PageID:
                                                                 28 of 71 25




                    The Original Clinical Trials Reviewed by the FDA

       50.     The 1976 advisory panel’s initial evaluation of oral PEH in 1976

included a review of seventeen safety studies and fourteen effectiveness studies. 52

       51.     All fourteen effectiveness studies used a methodology, nasal airway

resistance (“NAR”), that is no longer used in modern medicine and that does not

meet the FDA’s current standards for FDA approval. 53 Thus, even if a study showed

that oral PE Products were “effective” in 1976, they were based on a now invalid

methodology.54

       52.     Two of the fourteen studies evaluated by the advisory panel in 1976 on

oral PE did not provide evaluable efficacy information.55 Eleven of the fourteen

effectiveness studies were from a single manufacturer of PE products, Sterling-

Winthrop Labs (“Sterling-Winthrop”).56 These studies were small, single-center

crossover studies that had significant issues.




52
   Id. at 15, 17.
53
   The 1976 studies measured the level of nasal congestion by using measurements of airflow and
air pressure in the nasal passage to calculate NAR as an indirect measure of the level of nasal
congestion as their endpoint. However, modern medicine no longer supports the NAR
methodology, as science has evolved since these studies were reviewed in 1976. As a result,
NAR is no longer used to evaluate congestion in clinical trials, and the FDA now recommends
the use of nasal congestion symptom scores to evaluate congestion and other symptoms related
to allergic rhinitis.
54
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
17-18 (2023), https://www.fda.gov/media/171915/download.
55
   Id.
56
   Id. at 18.
                                              25
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
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                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 26 Page
                                                           of 68 PageID:
                                                                 29 of 71 26




      53.    Of the fourteen studies, half (seven) of the studies showed that oral PE

did not have measurable efficacy results.57 Six of the seven positive studies came

from Sterling-Winthrop and formed “a large part of the basis for the original Panel’s

recommendations” to approve oral PE. 58 Additionally, five of the six studies done

by Sterling-Winthrop were done in the same laboratory, Elizabeth Biochemical,

which the NDAC stated had “potential bias and data integrity issues.” 59

      54.    When the 1976 advisory panel requested public comment as part of

their review process, two comments of note argued that oral PE should not be

approved because the 1976 advisory panel based its decision on numerous

unpublished studies and that the studies considered were “split evenly between mild

successes and total failures,” and that a published study in a peer-reviewed journal

demonstrated no efficacy of oral PE; the comments also included two references

which supported the notion that PE had no oral bioavailability.60

      55.    After the 1976 advisory panel’s review of these studies, the Panel

stated that the data was “not strongly indicative of efficacy.”61 However, because the

other safety trials reviewed demonstrated no apparent safety concerns, because


57
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
18 (2023), https://www.fda.gov/media/171915/download.
58
   Id.
59
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
32 (2023), https://www.fda.gov/media/171915/download.
60
   Id. at 22.
61
   Id.
                                         26
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
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                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 27 Page
                                                           of 68 PageID:
                                                                 30 of 71 27




seven of the ten studies presented to the FDA were “positive,” and because the

scientific community did not yet know NAR was an ineffective measurement, the

Panel approved oral PE and it was published in the FM in 1994.62

        Meta-Analyses in 2007 Citizen’s Petition & 2007 NDAC Meeting
       56.     On February 1, 2007, Leslie Hendeles, PharmD, Randy C. Hatton,

PharmD, and Jonathan J. Schuster, PharmD, (“Petitioners”) filed a Citizen’s Petition

(“2007 Petition”) with the FDA requesting that the dosage of oral phenylephrine be

re-evaluated for patients over the age of 12 years old and that approval for use in

children under the age of 12 years old also be withdrawn. 63

       57.     The basis for this 2007 Petition was Petitioners’ systematic review and

meta-analysis of the aforementioned clinical studies considered by the Agency when

the FDA included oral PE in the FM for OTC nasal decongestant drug products, in

addition to the fact that there is no data on the safety of PE in children under the age

of 12 years old.64

       58.     Well-conducted meta-analyses are considered a higher level of

evidence than individual clinical trials as they provide a method to evaluate the




62
    Id. at 23.
63
   Id. (citing Hendeles, Hatton & Winterstein, Citizen Petition — Phenylephrine,
https://www.regulations.gov/docket/FDA-2007-P-0108).
64
    Id.
                                               27
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 28 Page
                                                           of 68 PageID:
                                                                 31 of 71 28




aggregated results of all relevant studies according to their pooled effects and

methodological quality.

      59.     Petitioners obtained all the data used for these studies through the

 Freedom of Information Act (“FOIA”) and performed a meta-analysis of the data.65

 This meta-analysis resulted in a different conclusion than that of the original Cough-

 Cold Advisory Panel data, as it instead found that oral PE is not effective at the

 monographed dosages. 66

      60.     In response to the 2007 Petition, the FDA convened a NDAC

 Committee (“2007 NDAC”) on December 14, 2007.67 The 2007 NDAC reviewed

 the 2007 Petition and the associated meta-analysis performed by Petitioners.68 In

 addition, the 2007 NDAC attended a presentation done by Petitioners discussing

 the findings of their meta-analysis, and a presentation by the Consumer Healthcare

 Products Association (“CHPA”). CHPA, predictably, presented a second meta-

 analysis that they believed supported the findings of the original Panel to approve

 oral PE.69 The data presented in both meta-analyses was then reviewed and

 presented by an FDA statistician, who then discussed his findings with the 2007


65
   Id.
66
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
23 (2023), https://www.fda.gov/media/171915/download.
67
   Id.
68
   Id.
69
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
23 (2023), https://www.fda.gov/media/171915/download.
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       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 29 Page
                                                           of 68 PageID:
                                                                 32 of 71 29




 NDAC.70 Lastly, the Committee also attended presentations by several industry

 speakers from Scherling-Plough and Scheing-Plough Merck, who provided

 previously unpublished data that confirmed the proposition behind Petitioners’

 petition to withdraw PE from the FM — that oral PE is ineffective as a nasal

 decongestant. 71

      61.     In Petitioners’ presentation of their meta-analysis, they noted that the

data from one company, Elizabeth Biochemical, drove the majority of the Panel’s

original decision.72 Petitioners also noted that the studies done in other labs had not

only found no difference between the effects of oral PE and a placebo, but when they

did find any difference in effect, it was nowhere near the magnitude of the effect

reported by Elizabeth Biochemical; Petitioners therefore believed this indicated an

Elizabeth Biochemical reporting bias. 73 Petitioners also reviewed the literature and

several negative studies that supported the ineffectiveness of oral PE, which

provided further support to Petitioners’ conclusion that oral PE was ineffective. 74

       62. The industry presentations included two presentations by Schering-

 Plough and Schering-Plough Merck, which, the FDA advisory panel said

 “counterintuitively” presented data that supported Petitioners’ belief that the


70
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
25-26 (2023), https://www.fda.gov/media/171915/download.
71
   Id. at 23.
72
   Id. at 23-24.
73
   Id.
74
   Id. at 24.
                                          29
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 30 Page
                                                           of 68 PageID:
                                                                 33 of 71 30




 monograph approved dose of oral PE is not effective, and they argued that higher

 doses would be needed. 75 The Advisory Panel notes that it appears these companies

 performed subsequent studies that they “hoped” supported the efficacy of oral PE

 in higher monographed doses.76 However, their studies showed that oral PE was not

 even effective at up to four-fold (40 mg) of the FDA monograph dose — the

 maximum dose that could be safely marketed. 77 In other words, even recent industry

 participant studies show that Oral PE at its maximum possible safe dosage is not

 effective at providing nasal congestion relief health benefits.

       63.    John, O’Mullane, PhD, the Group Vice-President of Consumer

 Healthcare Research and Development at Schering-Plough, presented to the 2007

 NDAC data that showed 10 mg of oral PE is not “sufficient to provide efficacy.”78

      64.    The second presentation by Schering-Plough Merck reviewed the

findings from two studies published in 2009. Both studies showed that “PE failed to

provide any benefit over placebo.”79

      65.     Lastly, FDA statistician Dr. Stan Lin reviewed both sets of meta-

analyses and four unpublished studies from Wyeth Consumer Healthcare and



75
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
25-28 (2023), https://www.fda.gov/media/171915/download.
76
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
25-28 (2023), https://www.fda.gov/media/171915/download.
77
    Id. at 26.
78
    Id.
79
   Id. at 28.
                                          30
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 31 Page
                                                           of 68 PageID:
                                                                 34 of 71 31




Schering-Plough and presented his conclusion to the Committee.80 Dr. Lin noted that

all of original studies used NAR as their primary clinical measure, which was

sufficiently problematic because the FDA no longer accepts it as a clinical

endpoint. 81 In summary, Dr. Lin noted that the small size, the lack of multicenter

representation, the lack of reproducibility, and the problematic nature of the

methodology used by the original studies suggest that the data reviewed by the

original Panel is not conclusive of PE efficacy.82

      66.    After the Committee’s review of all of the presented material, it noted

the inconsistent results, but due to the limitations of the data, nine of the twelve

Committee members voted to recommend that additional clinical data was necessary

before making any changes to the FDA’s stance on PE, including new studies needed

to evaluate the effect of higher doses of oral PE, new studies which do not use NAR

as an endpoint, along with other recommended design elements for future trials. 83

      67.    In response to the 2007 NDAC Meeting, the Agency’s Clinical

Pharmacology team reviewed all of the “new” bioavailability data (data that had

become available since the Agency’s original GRASE determination in 1994) and

confirmed that the actual oral bioavailability of PE is less than one percent


80
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
28 (2023), https://www.fda.gov/media/171915/download.
81
   Id.
82
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
29 (2023), https://www.fda.gov/media/171915/download.
83
   Id.
                                         31
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       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 32 Page
                                                           of 68 PageID:
                                                                 35 of 71 32




(<1%). 84 This effect was found to be due to the high-first pass metabolism effect

that occurs when PE is administered orally.85

                                  2015 Citizen’s Petition
      68.     On November 4, 2015, Leslie Hendeles, PharmD, and Randy C.

Hatton, PharmD, FCCP, BCPS, filed a Citizen’s Petition (the “2015 Petition”) under

21 CFR Part 10.30 to request the removal of oral PE, both individually and in

combination drug products, from the FM for OTC nasal decongestant products, and

to remove phenylephrine bitartrate (“PEB”) from the 2006 Amendment to the FM.86

      69.     The 2015 Citizen’s Petition cited their previously filed 2007 Citizen’s

Petition which requested the dosage of oral PE be re-evaluated and the approval for

use in children under twelve years old be withdrawn.87

      70.     The 2015 Petition outlined the results of the three new additional

studies which were performed and published since the 2007 NDAC meeting and

presented evidence which “provide further evidence of the absence of a decongestant

effect from the FDA-approved nonprescription dose of 10mg,” and showed that “PE

was not significantly different from placebo in the mean change in subjective nasal




84
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
9 (2023), https://www.fda.gov/media/171915/download (citing Hendeles & Hatton, Citizen
Petition — Phenylephrine (2015), https://www.regulations.gov/docket/FDA-2015-P-4131).
85
   Id.
86
   Id.
87
   Id.
                                          32
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 33 Page
                                                           of 68 PageID:
                                                                 36 of 71 33




congestion scores.”88

      71.     In response to the 2015 Citizen’s Petition, the American Academy of

Allergy, Asthma and Immunology also filed a letter with the FDA citing their

support of the 2015 Citizen’s Petition’s findings.89

                        The Three Modern Clinical Trials

      72.     Three large, adequately controlled modern clinical trials have been

conducted on PE.90 These three trials represent the largest and most carefully

conducted studies on the effects of oral PE.

      73.    In 2011, Merck (formerly Schering-Plough Pharmaceuticals),

conducted a multicenter, double-blind, placebo-controlled, multiple-dose crossover

Phase 2 parallel trial on 539 subjects with allergic rhinitis to evaluate the potential

for a higher than monographed dose of IR PE up to 40 mg. 91 The results of Merck’s

trial demonstrated not only demonstrated no effect of a higher than monographed

dose of PE up to 40 mg, but also demonstrated no effect of orally administered PE

at any dosage.92

      74.    Merck also conducted a Phase 3, multicenter, randomized, double-

blind, placebo-controlled, two-arm, parallel-group trial on 575 adult subjects with


88
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
9 (2023), https://www.fda.gov/media/171915/download.
89
   Id. at 8.
90
   Id. at 43.
91
   Id.
92
   Id.
                                          33
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 34 Page
                                                           of 68 PageID:
                                                                 37 of 71 34




pollen allergens to evaluate the effect of 30 mg of a modified-release formulation of

PEH. This study was conducted in 2011, and later published in 2016 in a peer-

reviewed journal. The NDAC noted in its 2023 review that this study likely was an

attempt to support an application for an extended-release PE product at a higher than

monographed dose. However, the results of this study showed no statistically

meaningful difference in nasal symptoms between the PE and placebo treatment

groups. The NDAC notes in its 2023 review of this study that the results “clearly

demonstrate that active treatment was numerically no better than placebo at any

timepoint in the trial” and “the placebo arm had numerically more mean

improvement over the course of the study.” Further, the 2023 NDAC concluded that

“this study provides high-quality (Level 1) evidence that PE is not an effective nasal

decongestant when administered orally in a 30 mg formulation.”

      75.    In addition, the Agency noted a third, additional interim analysis

conducted in 2017-2018 by Johnson and Johnson in Canada on subjects with the

common cold to evaluate a 30 mg ER oral PE product taken twice daily, along with

a 12 mg IR product taken four times daily. 93 This analysis was a randomized, double-

blind, double-dummy, placebo controlled, parallel group, which enrolled 193

subjects, although it had planned to enroll 450 subjects; 94 because of this, it was


93
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
51 (2023), https://www.fda.gov/media/171915/download.
94
   Id.
                                         34
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 35 Page
                                                           of 68 PageID:
                                                                 38 of 71 35




terminated as a study and was designed as an interim analysis. In addition, this study

used nasal symptom scores, not NAR, for its primary endpoint, thus aligning with

the FDA’s modern guidelines. 95 While only deemed an interim analysis, it was

significant in that it demonstrated that oral PE also had no effect on subjects

with colds. 96

        76.        All three trials used the clinically acceptable designs and endpoints that

were missing in the original studies considered.

        77.        All three of these trials demonstrate lack of efficacy of IR oral PE doses

up to 40 mg as well as no efficacy of extended-release (“ER”) doses of oral PE up

to 30 mg. As a result, all three of these trials demonstrated that there was no

difference between the effects of a placebo in comparison to either the monographed

dose of PE or a higher than monograph dose of PE.

        78.        In the NDAC’s 2023 review, the NDAC notes that these studies are

consistent, substantial, and believable and they confirm that orally administered PE

is not effective at any dose that can be developed.97

 September 2023: FDA Advisory Panel Votes 16-0 on Inefficacy of Oral PE as
                                     Nasal Decongestant
        79.        The 2020 CARES Act provides that the CCBAP Monograph may be



95
   Id.
96
   Id. at 51-52.
97
   Id. at 42.
                                               35
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 36 Page
                                                           of 68 PageID:
                                                                 39 of 71 36




amended via a new administrative order process established under Section 505G of

the Food, Drug, and Cosmetic Act (rather than the ANRP process). 98 The NDAC

states this provides a “simplified” process to contemplate changes to the CCBAP

Monograph. 99 The NDAC readily admitted that past changes to the monograph were

delayed by the “time and resources needed to fully review the issues.”

      80.     As a result of the 2015 Citizen’s Petition and the simplified monograph

review process established by the CARES Act, the FDA’s NDAC met on September

11, and 12, 2023.100 As a result of an extensive review of all the relevant material

(as summarized above), the NDAC members voted unanimously (16-0) that orally

administered PE is not effective as a nasal decongestant. 101

      81.     The NDAC’s conclusion was made after extensive review of the

following: (1) the fourteen original clinical trials that were the basis for the FDA’s

approval of PE, (2) the 2007 Citizen’s Petition, (3) the 2007 NDAC meeting and two

meta-analyses presented there, (4) bioavailability data which demonstrated that less

than one percent (<1%) of an oral dose of PE is systemically available, (5) two EEU

studies, (6) three modern clinical studies done since the 2007 NDAC meeting, and

(7) the 2015 Citizen’s Petition. 102


98
   U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
12 (2023), https://www.fda.gov/media/171915/download.
99
   Id.
100
    Id. at 9-13.
101
    Id. at 9-14.
102
    Id.
                                          36
      Case
        Case
           2:23-cv-21126
              MDL No. 3089
                         Document
                           Document
                                  1 233-11
                                    Filed 10/12/23
                                             Filed 10/25/23
                                                    Page 37 Page
                                                            of 68 PageID:
                                                                  40 of 71 37




       82.     The NDAC found that this information demonstrated that oral PE is

ineffective as a nasal decongestant, especially after considering the results of the

new data from the three modern studies, the significant methodological and

statistical issues with the design and conduct of the original studies, and the use of

NAR rather than nasal symptom scores as an endpoint.103 The NDAC also noted

that all but one of the original studies evaluated the common cold, not allergy

symptoms; the common cold has significant symptomatic variation between

individuals and is therefore not an efficient barometer to study whether oral PE

provides its stated benefits. 104 In addition, thirteen of the fourteen original studies

evaluated extremely small sample sizes, and no original study controlled for bias or

multiplicity. 105

       83.    The NDAC also noted that ten of the original studies were all from one

sponsor and were small, single-center crossover studies with significant issues; six

of these ten studies formed the basis to support oral PE’s GRASE designation; two

of the single sponsor studies were the most positive and their results were unable to

be replicated. 106


103
    In 2018, the FDA issued new guidance instructing the industry to use nasal congestion
symptom scores, not NAR, as a primary endpoint to evaluate nasal congestion in studies moving
forward. See https://www.fda.gov/files/drugs/published/Allergic-Rhinitis--Developing-Drug-
Products-for-Treatment-Guidance-for-Industry.pdf.
104
    U.S. FOOD & DRUG ADMIN., EFFICACY OF ORAL PHENYLEPHRINE AS A NASAL DECONGESTANT
32-34 (2023), https://www.fda.gov/media/171915/download.
105
    Id.
106
    Id. at 32-33.
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        Case
          Case
             2:23-cv-21126
                MDL No. 3089
                           Document
                             Document
                                    1 233-11
                                      Filed 10/12/23
                                               Filed 10/25/23
                                                      Page 38 Page
                                                              of 68 PageID:
                                                                    41 of 71 38




          84.      The NDAC also reviewed the EEU studies presented at the 2007 NDAC

meeting and concluded that in both studies, PE failed to provide any benefit over

placebo, while PSE provided good relief of congestion symptoms in one of the

studies. 107

          85.      The NDAC also reviewed the findings of three large clinical trials since

the 2007 meeting.

          86.      The NDAC concluded that as a result of their evaluation of all the

aforementioned scientific evidence, they believe the new efficacy data outweighs the

outdated data provided for the original Panel’s review, and, along with the modern

clinical trials and data, their evaluation demonstrated that: (1) oral PE at

monographed dosages is not effective as a decongestant, (2) oral doses up to 40 mg

would also not be effective, (3) finding an effective oral dose that is also safe is not

feasible, and (4) an appropriate dosing interval for oral PE has not been established.

Therefore, the Agency concluded that “in addition to lack of efficacy, there may be

no path to evaluating higher doses of oral PE as a nasal decongestant.” 108

      IV.       Misbranded/mislabeled and/or Adulterated Drugs are Illegal to Sell
          87.      Drugs in the United States that are not manufactured in accordance

with Current Good Manufacturing Practices (“cGMPs”) are deemed “adulterated”




107
      Id. at 32.
108
      Id. at 33.
                                               38
      Case
        Case
           2:23-cv-21126
              MDL No. 3089
                         Document
                           Document
                                  1 233-11
                                    Filed 10/12/23
                                             Filed 10/25/23
                                                    Page 39 Page
                                                            of 68 PageID:
                                                                  42 of 71 39




or “misbranded” and thus may not be distributed or sold in the United States.109

States have similar laws adopting or mirroring these federal standards. Defendants,

as manufacturers of oral PE Products sold OTC, are bound by these requirements.

       88.      Oral PE products are OTC drug products regulated by the FDA and

thus would be required to meet specified safety, quality, purity, identity and strength

standards.110 The FDA has worldwide jurisdiction to enforce these regulations if the

facility is making drugs intended to be distributed in the United States.

       89.      Defendants’ oral PE Products are “adulterated” as defined by the Food,

Drug and Cosmetic Act (“FDCA”) because they are a “drug” and the “methods used

in, or the facilities or controls used for, its manufacture, processing, packing, or

holding do not conform to or are not operated or administered in conformity with

current good manufacturing practice to assure that such drug meets the requirements

of this chapter as to safety and has the identity and strength, and meets the quality

and purity characteristics, which it purports or is represented to possess.”

(emphasis added).




109
    21 U.S.C. §§ 331(a), 351(a)(2)(B). cGMPs establish “minimum current good manufacturing
practice for methods to be used in, and the facilities or controls to be used for, the manufacture,
processing, packing, or holding of a drug to assure that such drug meets the requirements of the
act as to safety, and has the identity and strength and meets the quality and purity characteristics
that it purports or is represented to possess.” 21 C.F.R. § 210.1(a).
110
    21 U.S.C. § 351(a)(2)(B).
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        Case
          Case
             2:23-cv-21126
                MDL No. 3089
                           Document
                             Document
                                    1 233-11
                                      Filed 10/12/23
                                               Filed 10/25/23
                                                      Page 40 Page
                                                              of 68 PageID:
                                                                    43 of 71 40




            90.      Because Defendants’ oral PE Products do not have the identity and

strength claimed, its products cannot be distributed or sold in the United States under

federal law.

            91.      A drug is considered “misbranded” if: “its labeling is false or

misleading in any particular….” 111 The manufacture and sale of misbranded drugs

is prohibited under federal law, as is the introduction of any misbranded product into

the stream of interstate commerce.

            92.      Because Defendants’ oral PE Products do not provide the stated nasal

decongestion health benefits as labeled on its oral PE Products, its products are

misbranded and are in violation of federal law.

            93.      Plaintiff’s reference to federal law in this Complaint is to demonstrate

that its state law tort claims do not impose additional obligations on Defendants

beyond what they are already required to comply with under federal law for the

distribution of oral PE Products.

       V.         The Impact of Defendants’ Wrongful Conduct
            94.      Despite   clinical   studies    demonstrating    oral   PE    Products’

ineffectiveness, Defendants conveyed and continue to convey one uniform nasal

congestion relief health message: that oral PE Products are nasal decongestion over-

the-counter medicines capable of providing nasal decongestion health benefits.


111
      21 U.S.C. § 352(a)(1)
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    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 41 Page
                                                          of 68 PageID:
                                                                44 of 71 41




      95.     As the manufacturer of oral PE Products, Defendants possess

specialized knowledge regarding their content and effects of their ingredients, and

Defendants are in a superior position to know whether the oral PE Products’ work as

advertised.

      96.     Specifically, Defendants knew, but failed to disclose, or should have

known, that the oral PE Products cannot provide nasal decongestion health benefits,

and that well-conducted clinical studies have found the oral PE Products’ primary

ingredients are unable to support or benefit nasal decongestion.

      97.     Plaintiffs and the class members have been and will continue to be

deceived or misled by Defendants’ false and deceptive nasal decongestion health

representations.

      98.     Defendants’ nasal decongestion health representations and omissions

were a material factor in influencing Plaintiffs and the class members’ decision to

purchase the oral PE Products. In fact, the only purpose for purchasing the oral PE

Products is to obtain the represented nasal decongestion health benefits.

      99.     Defendants’ conduct has injured Plaintiffs and the class members

because Defendants’ oral PE Products are worthless and cannot support or benefit

nasal decongestion health in any way.

      100. Had Plaintiffs and the class members known the true nature of

Defendants’ oral PE Products, they would not have purchased the oral PE Products


                                         41
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 42 Page
                                                          of 68 PageID:
                                                                45 of 71 42




and would not have paid the prices they paid for the oral PE Products.

      101. Plaintiffs and each class member were harmed by purchasing

Defendants’ oral PE Products because they are not capable of providing their

advertised benefits. As a result, Plaintiffs and each class member lost money and

property by way of purchasing Defendants’ ineffective and worthless nasal

decongestion over-the-counter medicines.

                 CLASS DEFINITION AND ALLEGATIONS

      102. Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), bring this

action on behalf of the following Class:

      All persons who purchased in the United States any of Defendants’ oral PE
      Products for personal or household use.

      103. Excluded from the Class is Defendants, its parents, subsidiaries,

affiliates, officers, and directors, those who purchased the oral PE Products for

resale, all persons who make a timely election to be excluded from the Class, the

judge to whom this case is assigned and any immediate family members thereof, and

those who assert claims for personal injury.

      104. Plaintiffs reserve the right to amend the definition of the Class if

discovery or further investigation reveals that the Class should be expanded or

otherwise modified.

      105. Plaintiffs, pursuant to Fed. R. Civ. Pro. 23(b)(2) and 23(b)(3), also bring

this action on behalf of the following Subclasses:
                                           42
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 43 Page
                                                          of 68 PageID:
                                                                46 of 71 43




      California Subclass

      All persons who purchased in the state of California any of Defendants’ oral
      PE Products for personal or household use.

      New York Subclass

      All persons who purchased in the state of New York any of Defendants’ oral
      PE Products for personal or household use.


      106. Excluded from the Subclasses are Defendants, its parents, subsidiaries,

affiliates, officers, and directors, those who purchased the PE Products for resale, all

persons who make a timely election to be excluded from the Class, the judge to

whom this case is assigned and any immediate family members thereof, and those

who assert claims for personal injury.

      107. Certification of Plaintiffs’ claims for class wide treatment is appropriate

because Plaintiffs can prove the elements of their claims on a class wide basis using

the same evidence as would be used to prove those elements in individual actions

alleging the same claims.

      108. Numerosity – Federal Rule of Civil Procedure 23(a)(1). The

members of the Class are so numerous that individual joinder of all Class members

is impracticable. Defendants have sold many thousands of units of the oral PE

Products to Class members.

      109. Commonality and Predominance – Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3). This action involves common questions of law and fact,
                                          43
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 44 Page
                                                          of 68 PageID:
                                                                47 of 71 44




which predominate over any questions affecting individual Class members.

Specifically, whether Defendants’ representations regarding its oral PE Products and

their health benefits are misleading and deceptive is a question common to the class.

Similarly, oral PE Products are either capable of providing nasal decongestive health

benefits or they are not, and Defendants’ uniform representation that oral PE

Products are OTC medicines capable of providing nasal decongestive health benefits

either is true or false. These questions and others like them are common to the Class

and predominate over individual issues.

      110. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’

claims are typical of the other Class members’ claims because, among other things,

all Class members were comparably injured through the uniform prohibited conduct

described above.

      111. Adequacy of Representation – Federal Rule of Civil Procedure

23(a)(4). Plaintiffs are adequate representatives of the Class because Plaintiffs’

interests do not conflict with the interests of the other Class members Plaintiffs seek

to represent; Plaintiffs have retained counsel competent and experienced in complex

commercial and class action litigation; and Plaintiffs intend to prosecute this action

vigorously. The interests of the Class members will be fairly and adequately

protected by Plaintiffs and their counsel.




                                             44
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 45 Page
                                                          of 68 PageID:
                                                                48 of 71 45




      112. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class

action is superior to any other available means for the fair and efficient adjudication

of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other financial detriment suffered

by Plaintiffs and the other Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims

against Defendants, so it would be impracticable for Class members to individually

seek redress for Defendants’ wrongful conduct. Even if Class members could afford

individual litigation, the court system could not. Individualized litigation creates a

potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and the court system. By contrast, the class action device

presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                               CLAIMS ALLEGED

                                    COUNT I
                           Breach of Express Warranty

      113. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.




                                          45
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 46 Page
                                                          of 68 PageID:
                                                                49 of 71 46




      114. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar warranty laws as

applied to the facts of this case, or, in the alternative, on behalf of the Subclasses.

      115. Defendants, by affirmation of fact and/or promises set forth in its

promotions, advertisements, packaging and/or labeling for oral PE Products created

an express warranty that oral PE Products would conform to the affirmation and/or

promises.

      116. The affirmations of fact and/or promises made by Defendants on the

oral PE Products’ labels and advertising, which related to the health benefits of oral

PE Products, are express warranties, became part of the basis of the bargain, and are

part of a standardized contract between Plaintiffs and the members of the Class on

the one hand and Defendants on the other.

      117. Plaintiffs and the Class members performed all conditions precedent

under the contract between the Parties.

      118. Defendants are in privity with Plaintiffs and members of the Class.

Plaintiffs and Class members, not the retailers, were the intended beneficiaries of

Defendants’ products and the associated written warranties. Defendants created the

advertising and labeling at issue for oral PE Products and warranted the products to

Plaintiffs and members of the Class directly and/or through the doctrine of agency.

Defendants’ sale of the oral PE Products was either direct or through authorized


                                           46
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 47 Page
                                                          of 68 PageID:
                                                                50 of 71 47




sellers. Purchase through authorized sellers is sufficient to create privity because

such authorized sellers are Defendants’ agents for the purpose of the sale of the

products. Further, Defendants knew the identity, purpose and requirements of

Plaintiffs and members of the Class and manufactured the oral PE Products to meet

their requirements.

      119. Defendants breached the terms of the express warranty between the

Parties including the express warranties related to the benefits of oral PE with

Plaintiffs and the Class by not providing the oral PE Products in a manner that

conformed to the affirmations and/or promises.

      120. Defendants’ breach of this express warranty has directly and

proximately caused Plaintiffs and members of the Class to suffer damages in the

amount of the purchase price of the oral PE Products.

      121. Within a reasonable time of discovering the breach of express warranty

by Defendants, Plaintiffs through counsel notified Defendants of the breach of

warranty.

                                       COUNT II
                                Unjust Enrichment
               (On Behalf of a Multistate Class or the State Subclasses)

      122. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.



                                         47
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 48 Page
                                                          of 68 PageID:
                                                                51 of 71 48




      123. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar unjust enrichment

laws as applied to the facts of this case, or, in the alternative, on behalf of the

Subclasses.

      124. As a direct and proximate result of its misrepresentations concerning

the health benefits of the oral PE Products and its failure to disclose that oral PE

Products are ineffective in providing the advertised nasal decongestion health

benefits, Defendants has profited through the sale of its oral PE Products to Plaintiffs

and Class members.

      125. Defendants’ unlawful and wrongful acts, as alleged above, enabled

Defendants to unlawfully receive money from Plaintiffs and the Class it would not

have otherwise obtained.

      126. Plaintiffs and the Class members have conferred benefits on

Defendants, which Defendants have knowingly accepted and retained.

      127. Defendants’ retention of the benefits conferred by Plaintiffs and the

Class members would be against fundamental principles of justice, equity, and good

conscience.

      128. Plaintiffs and the Class members seek to disgorge Defendants’

unlawfully retained money resulting from their unlawful conduct and seek restitution

and rescission for the benefit of Plaintiffs and the Class members.


                                          48
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 49 Page
                                                          of 68 PageID:
                                                                52 of 71 49




      129. Plaintiffs and the Class members are entitled to the imposition of a

constructive trust upon Defendants, such that its unjustly retained money is

distributed equitably by the Court to and for the benefit of Plaintiffs and the Class

members.

                                        COUNT III
                             Negligent Misrepresentation
               (On Behalf of a Multistate Class or the State Subclasses)

      130. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      131. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar negligent

misrepresentation laws as applied to the facts of this case, or, in the alternative, on

behalf of the Subclasses.

      132. Defendants represented to Plaintiffs and the other members of the Class

that oral PE Products will relieve nasal congestion or its symptoms. These

representations were made by Defendants in its advertising, packaging and labeling

for oral PE Products disseminated to Plaintiffs and the other members of the Class

prior to their purchases of oral PE Products.

      133. These representations of the health benefits oral PE Products provide

were false and misleading because the scientific evidence demonstrates oral PE



                                          49
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 50 Page
                                                          of 68 PageID:
                                                                53 of 71 50




Products and their ingredients are incapable and do not provide the advertised nasal

decongestion health benefits.

      134. Defendants represented that the above-identified facts that oral PE

Products will relieve nasal congestion or its symptoms were true when it had no

reasonable grounds for believing them to be true.

      135. Defendants       made    the    representations   concerning    the   nasal

decongestion health benefits of oral PE Products with the intent to induce Plaintiffs

and the other members of the Class to purchase oral PE Products.

      136. Plaintiffs and the other members of the Class believed that Defendants’

representations as to the health benefits of taking oral PE Products were true and

materially complete and did not know of the falsity of the representations. In reliance

on Defendants’ representations and in belief the representations were materially

complete, Plaintiffs and the other members of the Class purchased oral PE Products

and have been damaged in an amount to be determined at trial.

                                          COUNT IV
                                        Fraud
               (On Behalf of a Multistate Class or the State Subclasses)

      137. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      138. Plaintiffs bring this claim on behalf of themselves, and those members

of the Class who purchased oral PE Products in states with similar common law
                                           50
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 51 Page
                                                          of 68 PageID:
                                                                54 of 71 51




fraud laws as applied to the facts of this case, or, in the alternative, on behalf of the

Subclasses.

      139. As      alleged    herein,    Defendants     knowingly      made     material

misrepresentations and omissions regarding PE Products in its advertisements,

labeling and packaging for oral PE Products.

      140. Defendants made these material misrepresentations and omissions in

order to deceive Plaintiffs and Class members into purchasing oral PE Products.

      141. Defendants knew that its representations concerning the health benefits

of oral PE Products made to Plaintiffs and the Class were false and untrue at the time

the representations were made, or recklessly made the statements with no belief in

the truth of the statements, but nevertheless made such representations through the

marketing, advertising and oral PE Products’ labeling, including through its

representation that oral PE Products provide “FAST, POWERFUL COLD &

CONGESTION RELIEF” and that they provide “MAX STRENGTH…nasal

congestion [and] sinus congestion” relief. In reliance on these and other similar

misrepresentations, Plaintiffs and Class members were induced to, and did, pay

monies to purchase the oral PE Products.

      142. Plaintiffs and Class members did not know—nor could they have

known through reasonable diligence—that oral PE Products do not provide the




                                           51
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 52 Page
                                                          of 68 PageID:
                                                                55 of 71 52




advertised nasal decongestion health benefits and is indeed incapable of providing

the claimed benefits.

      143. Plaintiffs and Class members have been reasonable in relying on

Defendants’ misrepresentations and omissions in making their decisions to purchase

oral PE Products.

      144. Had Plaintiffs known the truth about the oral PE Products, including

that they do provide the advertised health benefits, they would not have purchased

the oral PE Products.

                                         COUNT V
                  Violation of the New Jersey Consumer Fraud Act
                               N.J.S.A. §§ 56:8-1, et seq.
               (On Behalf of a Multistate Class or the State Subclasses)

      145. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      146. Plaintiffs bring this claim individually, and on behalf of those members

of the Class who purchased oral PE Products in states with state consumer laws that

are similar to the New Jersey Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq. (the

“NJCFA”) as applied to the facts of this case, or, in the alternative, on behalf of the

Subclasses.

      147. This cause of action is brought pursuant to the New Jersey Consumer

Fraud Act, N.J.S.A. §§ 56:8-1, et seq.


                                          52
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 53 Page
                                                          of 68 PageID:
                                                                56 of 71 53




     148.   Section 56:8-2 of the NJCFA provides, in relevant part:

      The act, use or employment by any person of any unconscionable
      commercial practice, deception, fraud, false pretense, false promise,
      misrepresentation, or the knowing, concealment, suppression, or
      omission of any material fact with intent that others rely upon such
      concealment, suppression or omission, in connection with the sale or
      advertisement of any merchandise or real estate, or with the subsequent
      performance of such person as aforesaid, whether or not any person has
      in fact been misled, deceived or damaged thereby, is declared to be an
      unlawful practice . . . .

      149. Plaintiffs, other members of the Class, and Defendants are “persons”

within the meaning of the NJCFA.

      150. Plaintiffs and other members of the Class are “consumers” who

purchased “merchandise” – oral PE Products – pursuant to a consumer transaction

for personal use and are, therefore, subject to protection under the New Jersey

Consumer Fraud Act, N.J.S.A. §§ 56:8-1, et seq.

      151. Defendants conducted trade or commerce within the meaning of the

NJCFA.

      152. The acts, practices, misrepresentations, concealments, and omissions

by Defendants were made in connection with the sale and advertisement of its oral

PE Products and with the intent that others rely upon such concealment, suppression

and omission, and constitute unlawful, deceptive and unconscionable commercial

practices within the meaning of the NJCFA.




                                        53
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 54 Page
                                                          of 68 PageID:
                                                                57 of 71 54




      153. Defendants also knowingly concealed, suppressed and consciously

omitted material facts about the inefficacy of oral PE Products to Plaintiffs and other

members of the Class knowing that consumers would rely on the advertisements and

packaging to purchase oral PE Products.

      154. Defendants’ misrepresentations and omissions about oral PE Products

were material and were intended to, and likely to, deceive a reasonable consumer.

      155. As a result of the use and employment by Defendants of the unlawful

acts, Plaintiffs and other Class members have suffered ascertainable losses in the

form of, inter alia, monies spent to purchase oral PE Products, and they are entitled

to recover such damages, together with appropriate penalties, including treble

damages, attorneys’ fees and costs of suit pursuant to N.J.S.A. §§ 56:8-2.11, 56:8-

2.12 and 56:8-19. As alleged above, oral PE Products do not provide the advertised

health benefits to the user and, thus, are worthless.

      156. Additionally, pursuant to N.J.S.A. § 56:8-19, Plaintiffs and members of

the Class seek injunctive relief to stop the ongoing deceptive advertising and for a

corrective advertising campaign.

                                        COUNT VI
          Violation of the California Unfair Competition Law (“UCL”)
                     Cal. Bus. & Prof. Code §§17200, et seq.

      157. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

                                          54
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 55 Page
                                                          of 68 PageID:
                                                                58 of 71 55




      158. Plaintiffs bring this claim individually and on behalf of the Class.

      159. Plaintiffs and Defendants are “persons” within the meaning of the UCL.

Cal. Bus. & Prof. Code §17201.

      160. The UCL defines unfair competition to include any “unlawful, unfair

or fraudulent business act or practice,” as well as any “unfair, deceptive, untrue or

misleading advertising.” Cal. Bus. Prof. Code §17200.

      161. In the course of conducting business, Defendants committed unlawful

business practices by, among other things, making the representations (which also

constitutes advertising within the meaning of §17200) and omissions of material

facts, as set forth more fully herein, and violating Civil Code §§1572, 1573, 1709,

1711, 1770(a)(5), (7), (9) and (16) and Business & Professions Code §§17200, et

seq., 17500, et seq., 21 U.S.C. 343(r)(6), and the common law.

      162. Plaintiffs reserve the right to allege other violations of law, which

constitute other unlawful business acts or practices. Such conduct is ongoing and

continues to this date.

      163. In the course of conducting business, Defendants committed “unfair”

business practices by, among other things, making the implied and express

representations (which also constitute advertising within the meaning of §17200)

and omissions of material facts regarding oral PE Products in its advertising and

labeling, including on the oral PE Products’ packaging, as set forth more fully herein.


                                          55
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 56 Page
                                                          of 68 PageID:
                                                                59 of 71 56




There is no societal benefit from false and misleading advertising – only harm.

Plaintiffs and the other Class members paid for a valueless product that is not capable

of conferring the benefits promised. While Plaintiffs and the other Class members

were harmed, Defendants were unjustly enriched by its false misrepresentations and

omissions. As a result, Defendants’ conduct is “unfair,” as it offended an established

public policy. Further, Defendants engaged in immoral, unethical, oppressive, and

unscrupulous activities that are substantially injurious to consumers.

      164. Further, as set forth in this Complaint, Plaintiffs allege violations of

consumer protection, unfair competition, and truth in advertising laws in California

and other states, resulting in harm to consumers. Defendants’ acts and omissions

also violate and offend the public policy against engaging in false and misleading

advertising, unfair competition, and deceptive conduct towards consumers. This

conduct constitutes violations of the unfair prong of Business & Professions Code

§§17200, et seq.

      165. There were reasonably available alternatives to further Defendants’

legitimate business interests, other than the conduct described herein. Business &

Professions Code §§17200, et seq., also prohibits any “fraudulent business act or

practice.” In the course of conducting business, Defendants committed “fraudulent

business act or practices” by, among other things, making the implied and express

representations (which also constitute advertising within the meaning of §17200)


                                          56
       Case
         Case
            2:23-cv-21126
               MDL No. 3089
                          Document
                            Document
                                   1 233-11
                                     Filed 10/12/23
                                              Filed 10/25/23
                                                     Page 57 Page
                                                             of 68 PageID:
                                                                   60 of 71 57




and omissions of material facts regarding the oral PE Products in its advertising,

including on the oral PE Products’ packaging and labeling, as set forth more fully

herein. Defendants made the misrepresentations and omissions regarding the

efficacy of its oral PE Products, among other ways, by misrepresenting on each and

every oral PE Products’ packaging and labeling that the oral PE Products are

effective when taken as directed, when, in fact, the representations are false and

deceptive, and the oral PE Products are not capable of conferring the promised health

benefits.

        166. Defendants’ actions, claims, omissions, and misleading statements, as

more fully set forth above, were also false, misleading and/or likely to deceive the

consuming public within the meaning of Business & Professions Code §§17200, et

seq.

        167. Plaintiffs and the other members of the Class have in fact been deceived

as a result of their reliance on Defendants’ material representations and omissions,

which are described above. This reliance has caused harm to Plaintiffs and the other

members of the Class, each of whom purchased Defendants’ oral PE Products.

Plaintiffs and the other Class members have suffered injury in fact and lost money

as a result of purchasing the oral PE Products and Defendants’ unlawful, unfair, and

fraudulent practices.

        168. Defendants knew, or should have known, that its material


                                          57
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 58 Page
                                                          of 68 PageID:
                                                                61 of 71 58




misrepresentations and omissions would be likely to deceive and harm the

consuming public and result in consumers making payments to Defendants for oral

PE Products that are valueless and that are incapable of actually supporting,

maintaining, improving or benefiting nasal decongestion health.

      169. As a result of its deception, Defendants were unjustly enriched by

receiving payments from Plaintiffs and the Class in return for providing Plaintiffs

and the Class, the oral PE Products that do not perform as advertised.

      170. Unless restrained and enjoined, Defendants will continue to engage in

the unlawful, unfair and fraudulent conduct described herein.

      171. Accordingly, Plaintiffs, individually and on behalf of all others

similarly situated, and on behalf of the general public, seeks restitution from

Defendants of all money obtained from Plaintiffs and the other members of the Class

collected as a result of Defendants’ unfair competition, and awarding all other relief

this Court deems appropriate.

                                    COUNT VII
    Violation of the California Consumers Legal Remedies Act (“CLRA”)
                         Cal. Civ. Code §§1750, et seq.

      172. Plaintiffs incorporate the preceding paragraphs as if fully set forth

herein.

      173. Plaintiffs bring this claim individually and on behalf of the Class.

      174. Plaintiffs are “consumer(s),” and Defendants are a “person,” and the

                                         58
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 59 Page
                                                          of 68 PageID:
                                                                62 of 71 59




oral PE Products are “goods” within the meaning of the CLRA. Cal. Civ. Code

§1761(a), (c) and (d).

      175. Defendants’ sale and advertisement of its oral PE Products constitutes

“transactions” within the meaning of the CLRA. Cal. Civ. Code §1761(e).

      176. The CLRA declares as unlawful the following unfair methods of

competition and unfair or deceptive acts or practices when undertaken by any person

in a transaction intended to result, or which results in the sale of goods to any

consumer:

      (5) Representing that goods … have . . . approval, characteristics, . . . uses
      [and] benefits . . . which [they do] not have . . . .
      (7) Representing that goods … are of a particular standard, quality or
      grade . . . if they are of another.
      (9) Advertising goods . . . with intent not to sell them as advertised.
      (16) Representing that [goods] have been supplied in accordance with a
      previous representation when [they have] not.
      Cal. Civ. Code §1770(a)(5), (7), (9) and (16).

      177. Defendants violated the CLRA by representing that its oral PE Products

are beneficial for nasal decongestion health, when, in reality, the oral PE Products

cannot provide their advertised benefits and the oral PE Products’ ingredients are

ineffective at improving, supporting, maintaining or benefiting the health of nasal

congestion.

      178. Defendants knew or should have known its health representations were

false and misleading, and that by omitting the ineffectiveness of its oral PE Products

it was omitting a material fact that would alter any consumer’s decision to purchase
                                         59
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 60 Page
                                                          of 68 PageID:
                                                                63 of 71 60




the oral PE Products.

      179. Defendants’ violations of the CLRA proximately caused injury in fact

to Plaintiffs and the Class.

      180. Plaintiffs and the Class members purchased Defendants’ oral PE

Products on the belief that they would receive the advertised health benefits from

the oral PE Products. Indeed, no consumer would purchase an oral PE Product unless

he or she believed it was capable of providing meaningful nasal decongestive

benefits.

      181. Defendants’ oral PE Products, however, are worthless and cannot

provide any of their advertised benefits. Since the oral PE Products lack any value,

Plaintiffs and each Class member were injured by the mere fact of their purchase.

      182. Pursuant to Cal. Civ. Code §1780, Plaintiffs, individually and on behalf

of the other members of the Class, seek a Court order to enjoin the Defendants’

improper sale and marketing of the oral PE Products.

      183. Pursuant to Cal. Civ. Code §1782(a), Defendants were notified in

writing by certified mail of the particular violations of Section 1770 of the CLRA,

which notification demanded that Defendants rectify the problems associated with

the actions detailed above and give notice to all affected consumers of Defendants’

intent to so act. Copies of the letters are attached hereto as Exhibits A-B.

      184. If Defendants fail to rectify or agree to rectify the problems associated


                                          60
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 61 Page
                                                          of 68 PageID:
                                                                64 of 71 61




with the actions detailed above and give notice to all affected consumers within 30

days of the date of written notice pursuant to §1782 of the Act, Plaintiffs will amend

this claim to seek actual, punitive and statutory damages, as appropriate.

      185. Defendants’ conduct is fraudulent, wanton, and malicious.

      186. Pursuant to §1780(d) of the Act, attached hereto as Exhibit C is the

affidavit showing that this action has been commenced in the proper forum.

                                    COUNT VIII
    Violation of New York Consumer Protection from Deceptive Acts and
                        Practices Act (“NYDAPA”)
                          N.Y. GBL § 349, et seq.
             (On Behalf of Plaintiffs and the New York Subclass)


      187. Plaintiffs repeat and re-allege the allegations contained in every

preceding paragraph as if fully set forth herein.

      188. Plaintiffs bring this claim individually and on behalf of the members of

the proposed New York Subclass against Defendants for violations of NYDAPA,

N.Y. GEN. BUS. LAW § 349.

      189. NYDAPA makes unlawful “[d]eceptive acts or practices in the conduct

of any business, trade or commerce.” N.Y. GEN. BUS. LAW § 349. Defendants’

conduct, as set forth herein, constitutes deceptive acts or practices under this section.

      190. Plaintiffs and members of the proposed New York Subclass are

“persons” under NYDAPA, N.Y. GEN. BUS. LAW § 349(h), and Defendants’ actions


                                           61
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 62 Page
                                                          of 68 PageID:
                                                                65 of 71 62




as set forth herein occurred in the conduct of “business, trade or commerce” under

NYDAPA.

      191. In the course of its business, Defendants advertised false statements

about its oral PE Products that gave consumers, including Plaintiffs and members of

the proposed New York Subclass, the impression that its products provide nasal

congestion relief; therefore, leading to the false impression that the products

Defendants sold were worth their cost when they were actually worthless.

      192. Plaintiffs and members of the proposed New York Subclass had no way

of discerning that Defendants’ representations were false and misleading.

      193. Defendants thus violated and continues to violate NYDAPA by making

statements that, when considered as a whole from the perspective of a reasonable

consumer, gives the false impression that the products sold by Defendants are worth

more than they actually are.

      194. Defendants knew or should have known that its conduct violated

NYDAPA and owed a duty to Plaintiffs and members of the proposed New York

Subclass to refrain from engaging in deceptive acts or practices, and to disclose the

truth about its oral PE Products.

      195. Defendants       intentionally        and   knowingly   made   affirmative

misrepresentations and failed to disclose material facts regarding the efficacy of its




                                            62
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 63 Page
                                                          of 68 PageID:
                                                                66 of 71 63




oral PE Products with intent to mislead Plaintiffs and members of the proposed New

York Subclass.

      196. Defendants’ misleading and false advertisements were material to

Plaintiffs and members of the proposed New York Subclass, as they relate to the

price and efficacy of the product the consumer is receiving and paying for. A

reasonable consumer would attach importance to such representations and would be

induced to act thereon in deciding whether or not to purchase the product.

      197. Defendants’ unfair or deceptive acts or practices were likely to and did

in fact deceive reasonable consumers, including Plaintiffs and members of the

proposed New York Subclass, about the efficacy of its oral PE Products. Plaintiffs

and members of the proposed New York Subclass reasonably relied upon

Defendants’ false statements when purchasing the oral PE Products from

Defendants. Plaintiffs and members of the proposed New York Subclass would not

have made such purchases but for Defendants’ representations regarding the nasal

congestion relief health benefits of its oral PE Products.

      198. Defendants’ violation of NYDAPA, through its unlawful, unfair, and

fraudulent business practices, are ongoing and present a continuing threat that

Plaintiffs, members of the proposed New York Subclass, and the public will be

deceived into purchasing products based on false statements regarding the efficacy




                                          63
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 64 Page
                                                          of 68 PageID:
                                                                67 of 71 64




of Defendants’ oral PE Products. These false statements lead to financial damage for

consumers like Plaintiffs and members of the proposed New York Subclass.

      199. As a direct and proximate result of Defendants’ misleading and false

advertisements, as well as Defendants’ deceptive and unfair acts and practices made

during the course of Defendants’ business, Plaintiffs and members of the proposed

New York subclass suffered ascertainable loss and actual damages.

      200. Plaintiffs and members of the proposed New York subclass are entitled

to all of the damages, remedies, fees, and costs available under NYDAPA, including

but not limited to, injunctive relief, recovery of actual damages and/or fifty dollars

in statutory damages, whichever is greater, as well as treble damages, reasonable

attorneys’ fees, and all other remedies this Court deems proper.

                                          COUNT IX
                   Violation of New York False Advertising Act (“NYFAA”)
                                   N.Y. GBL § 350, et seq.
                  (On Behalf of Plaintiffs and the New York Subclass)

      201. Plaintiffs repeat and re-allege the allegations contained in every

preceding paragraph as if fully set forth herein.

      202. Plaintiffs bring this claim individually and on behalf of the members of

the proposed New York Class against Defendants for violations of NYFAA, N.Y.

GEN. BUS. LAW § 350.

      203. The NYFAA makes unlawful “[f]alse advertising in the conduct of any

business, trade or commerce.” N.Y. GEN. BUS. LAW § 350. False advertising
                                          64
    Case
      Case
         2:23-cv-21126
            MDL No. 3089
                       Document
                         Document
                                1 233-11
                                  Filed 10/12/23
                                           Filed 10/25/23
                                                  Page 65 Page
                                                          of 68 PageID:
                                                                68 of 71 65




includes “advertising, including labeling of a commodity . . . if such advertising is

misleading in a material respect,” taking into account “the extent to which the

advertising fails to reveal facts material in light of such representations [made] with

respect to the commodity . . .” N.Y. GEN. BUS. LAW § 350(a).

      204. Defendants’ routine of advertising oral PE Products which do not

provide nasal congestion relief constitutes an unfair, untrue, and misleading practice.

This deceptive marketing practice gave consumers the false impression that the

products nasal congestion relief.

      205. Defendants intentionally and knowingly misled consumers by making

untrue and misleading statements and failing to disclose material facts regarding the

efficacy of its oral PE Products with intent to mislead Plaintiffs and members of the

proposed New York Subclass.

      206. Defendants’ unfair or deceptive acts or practices were likely to and did

in fact deceive reasonable consumers, including Plaintiffs and members of the

proposed New York Subclass, about the efficacy of its oral PE Products. Plaintiffs

and members of the proposed New York Subclass reasonably relied upon

Defendants’ false oral PE Product claims when purchasing its oral Vicks® products.

Plaintiffs and members of the proposed New York Subclass would not have made

such purchases but for Defendants’ representations regarding the efficacy of its oral

PE Products in relieving nasal congestion symptoms.


                                          65
     Case
       Case
          2:23-cv-21126
             MDL No. 3089
                        Document
                          Document
                                 1 233-11
                                   Filed 10/12/23
                                            Filed 10/25/23
                                                   Page 66 Page
                                                           of 68 PageID:
                                                                 69 of 71 66




       207. Defendants’ violation of the NYFAA, through its unlawful, unfair, and

fraudulent business practices, are ongoing and present a continuing threat that

Plaintiffs, members of the proposed New York Subclass, and the public will be

deceived into purchasing products based on false claims of efficacy for its oral PE

Products. These false statements lead to financial damage for consumers like

Plaintiffs and members of the proposed New York Subclass.

       208. As a direct and proximate result of Defendants’ misleading and false

advertisements, as well as Defendants’ deceptive and unfair acts and practices made

during the course of Defendants’ business, Plaintiffs and members of the proposed

New York Subclass suffered ascertainable loss and actual damages.

       209. Plaintiffs and members of the proposed New York Subclass are entitled

to all of the damages, remedies, fees, and costs available under NYFAA, including

but not limited to, injunctive relief, recovery of actual damages and/or five hundred

dollars per violation, whichever is greater, as well as treble damages, reasonable

attorneys’ fees, and all other remedies this Court deems proper.

                                  JURY DEMAND
       210. Plaintiffs demand a trial by jury of all claims in this Complaint so
triable.




                                         66
      Case
        Case
           2:23-cv-21126
              MDL No. 3089
                         Document
                           Document
                                  1 233-11
                                    Filed 10/12/23
                                             Filed 10/25/23
                                                    Page 67 Page
                                                            of 68 PageID:
                                                                  70 of 71 67




                              REQUEST FOR RELIEF
       WHEREFORE, Plaintiffs, individually and on behalf of the other members of

the proposed Class, respectfully requests that the Court enter judgment in Plaintiffs’

favor and against Defendants as follows:

          A. Declaring that this action is a proper class action, certifying the Class

   as requested herein, designating Plaintiffs as Class Representatives and

   appointing the undersigned counsel as Class Counsel;

          B. Ordering restitution and disgorgement of all profits and unjust

   enrichment that Defendants obtained from Plaintiffs and the Class members as a

   result of Defendants’ unlawful, unfair and fraudulent business practices;

          C. As to the CLRA claim, Plaintiffs seek an order enjoining Defendants’

   improper sale and marketing of the oral PE products;

          D. Ordering actual, treble, statutory and punitive damages;

          E. Ordering Defendants to pay attorneys’ fees and litigation costs to

   Plaintiffs and the other members of the Class;

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                                           67
   Case
     Case
        2:23-cv-21126
           MDL No. 3089
                      Document
                        Document
                               1 233-11
                                 Filed 10/12/23
                                          Filed 10/25/23
                                                 Page 68 Page
                                                         of 68 PageID:
                                                               71 of 71 68




        F. Ordering Defendants to pay both pre- and post-judgment interest on any

  amounts awarded; and

        G. Ordering such other and further relief as may be just and proper.



Dated: October 12, 2023                  Respectfully submitted,


By: /s/Todd D. Carpenter

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                                       68
